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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No. _________

ESTATE OF SERAFIN FINN, by and through its personal representative Melissa R. Schwartz,

        Plaintiff,

v.

CITY AND COUNTY OF DENVER, a municipality;
DEPUTY JASON GENTEMPO, in his individual capacity;

      Defendants.
______________________________________________________________________________

                       COMPLAINT AND JURY DEMAND
______________________________________________________________________________

        The Estate of Serafin Finn, by and through its attorneys Nicholas Lutz, Matthew Cron,

and Omeed Azmoudeh of RATHOD ǀ MOHAMEDBHAI LLC and Benjamin Hartford of the Law

Office of Benjamin Hartford, alleges as follows:

                                    I.      INTRODUCTION

        1.      This case centers on the gratuitous assault of an arrestee while he was handcuffed,

shackled, and restrained in a wheelchair.

        2.       On March 20, 2019, Deputy Jason Gentempo of the Denver Sheriff’s Department

was responsible for transporting Serafin Finn from a Denver hospital to a Denver jail.

        3.      Deputy Gentempo found Mr. Finn at the hospital. He was already handcuffed and

shackled. Deputy Gentempo placed Mr. Finn in a wheelchair.




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       4.        While Deputy Gentempo wheeled Mr. Finn out of the hospital and towards his

vehicle, Deputy Gentempo alleges that Mr. Finn attempted to spit at him. In response, Deputy

Gentempo reared back with the full force of his body and punched Mr. Finn in the face.

       5.        Deputy Gentempo punched Mr. Finn in the face several more times. He then

flipped Mr. Finn’s wheelchair, smashing Mr. Finn’s head to the ground. Deputy Gentempo then

laid on top of Mr. Finn and applied painful pressure points to his head and neck.

       6.        All of this force occurred while Mr. Finn’s legs and arms were completely

restrained, and he was unable to protect himself against Deputy Gentempo’s ongoing assault.

       7.        Deputy Gentempo’s assault resulted in extensive injuries, including hematomas

and abrasions on Mr. Finn’s head.

       8.        Surveillance footage captured the entire sequence of events.

       9.        In April 2020, following a thorough investigation of the matter, the Internal

Affairs Bureau recommended that Deputy Gentempo receive discipline for three separate policy

violations: employing excessive force; lying in his written report of the incident; and lying to

investigators.

       10.       Despite the findings of the Internal Affairs Bureau, the Denver Sheriff’s

Department rejected the recommendation and exonerated Deputy Gentempo. The Denver

Sheriff’s Department also terminated the lead investigator on the matter following her attempt to

publicize the sham disciplinary process.

       11.       The beating of this defenseless arrestee in violation of his clearly established

constitutional rights was a wholly predictable outcome. By his own admission, Deputy

Gentempo had received no training on the use of force against allegedly spitting arrestees; had


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received no discipline following several prior accusations of excessive force; and works in a law

enforcement agency where officers know that their agency is likely to endorse their conduct if

they employ excessive force, just as the Denver Sheriff’s Department did here.

                                      II.          JURISDICTION

       12.     This action arises under the Constitution and laws of the United States and is

brought pursuant to 42 U.S.C. § 1983. Jurisdiction is conferred on this Court pursuant to 28

U.S.C. § 1331. Jurisdiction supporting Plaintiff’s claim for attorneys’ fees and costs is conferred

by 42 U.S.C. § 1988.

       13.     Venue is proper in the District of Colorado pursuant to 28 U.S.C. § 1391(b). All

the events and omissions alleged herein occurred within the State of Colorado, and all

Defendants reside in this district.

                                            III.     PARTIES

       14.     Serafin Finn was a resident of the State of Colorado who died from unrelated

causes following the constitutional violations alleged herein. Melissa R. Schwartz, the Public

Administrator for the City and County of Denver, is the Special Administrator appointed

pursuant to C.R.S. § 15-12-614, et seq., representing the Estate of Serafin Finn. Marcie R.

McMinimee, the Deputy Public Administrator for the City and County of Denver, is the

Alternate Special Administrator appointed pursuant to C.R.S. § 15-12-614, et seq., acting as a

fiduciary in support of Ms. Schwartz as needed.

       15.     Defendant City and County of Denver (“Denver”) is a municipality organized

under Colorado law and is a “person” subject to suit under 42 U.S.C. § 1983. Defendant Denver

was at all relevant times the employer of Defendant Jason Gentempo.


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       16.     At all relevant times, Defendant Jason Gentempo was a resident of Colorado,

acting under color of state law in his capacity as a law enforcement officer employed by

Defendant Denver.

                               IV.    FACTUAL BACKGROUND

The Brutal Assault of Mr. Finn

       17.     On March 20, 2019, due to an internal error, Mr. Finn was released from the

Denver Detention Center (“DDC”) with an active warrant still pending.

       18.     Upon release, Mr. Finn experienced a medical emergency and was taken via

ambulance to Denver Health Medical Center (“Denver Health”).

       19.     While Mr. Finn received treatment, the Denver Sheriff’s Department (“DSD”)

discovered his active warrant, and DSD deputies at the hospital arranged to transport Mr. Finn

back to the jail after his treatment ended.

       20.     That evening, Deputy Gentempo, and his partner, Deputy Purna Siwakoti, were

assigned to Scout Car 2, which handles inmate transportation between Denver Health and DDC.

Accordingly, Deputies Gentempo and Siwakoti were tasked with transporting Mr. Finn back to

the DDC.

       21.     When Deputies Gentempo and Siwakoti arrived at Denver Health, they found Mr.

Finn in ankle-shackles and handcuffs on a gurney in an examination room.

       22.     Deputies Gentempo and Siwakoti ordered Mr. Finn to get down from the gurney

and into a heavy-duty hospital wheelchair.

       23.     Mr. Finn complied with their order, still shackled and handcuffed and now seated

in a wheelchair.


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       24.     Deputies Gentempo and Siwakoti rolled Mr. Finn out of the examination room

and then out of the hospital through a nearby exit.

       25.     Once outside the hospital, Deputy Siwakoti rotated Mr. Finn’s wheelchair and led

it backwards down a long concrete ramp towards Scout Car 2, which was parked nearby. Deputy

Gentempo followed closely behind, facing Deputy Siwakoti and Mr. Finn.

       26.     When they reached the bottom of the ramp, Deputy Siwakoti again rotated Mr.

Finn’s wheelchair and now walked on the right side of Mr. Finn as they continued towards Scout

Car 2. Deputy Gentempo started walking on the left side of Mr. Finn.

       27.     As they proceeded towards the vehicle, Denver Health surveillance footage shows

Mr. Finn turn towards Deputy Gentempo and appear to spit in his direction. In later interviews,

Mr. Finn did not recall whether he spat.

       28.     Deputy Gentempo suddenly reared back and punched Mr. Finn as hard as he

could with a closed fist, striking Mr. Finn in the face from close range.

       29.     At the time Deputy Gentempo struck Mr. Finn, Mr. Finn was handcuffed and

shackled in a wheelchair and posed no physical threat to the deputies, nor was he able to protect

himself from the blow.

       30.     The force of the strike propelled Mr. Finn’s head backwards.

       31.     Deputy Gentempo then proceeded to strike Mr. Finn in the face multiple times in

rapid succession.

       32.     After striking Mr. Finn several times, Deputy Gentempo grabbed Mr. Finn’s head

and neck, drove his wheelchair backwards several feet, and flipped it over its rear wheels,

smashing Mr. Finn’s head to the ground.


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       33.     As Mr. Finn lay incapacitated on the ground, shackled and handcuffed, suffering

from the pain of the assault, Deputy Gentempo still proceeded to attack him.

       34.     Deputy Gentempo got on top of Mr. Finn and began squeezing Mr. Finn’s face

and neck, applying a DSD-approved mandibular angle pressure point.

       35.     He applied this pressure point for nearly two minutes until other DSD deputies

arrived.

       36.     Eventually, Deputies Gentempo and Siwakoti picked Mr. Finn up from the

ground by his arms, while other deputies placed a spit sock over Mr. Finn’s head.

       37.     As they moved him, they smashed Mr. Finn’s head into a parking bollard.

       38.     At no time did Mr. Finn represent a physical threat to Deputies Gentempo or

Swiakoti.

       39.     Deputy Gentempo’s use of force against Mr. Finn was wholly unjustified and

excessive.

       40.     Deputy Gentempo and another deputy took Mr. Finn to a DSD vehicle and placed

him in a caged area inside the rear doors.

       41.     In violation of DSD policy, Deputy Gentempo did not arrange a health screening

for Mr. Finn after securing Mr. Finn in the vehicle. This was because, in Deputy Gentempo’s

own words, “my main focus was taking care of myself.”

       42.     Shortly after, Deputies Gentempo and Siwakoti transported Mr. Finn to the DDC

where Deputy Gentempo again failed to inform any medical staff that he had used force against

Mr. Finn and otherwise took no measures to ensure that Mr. Finn was evaluated for injuries.




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        43.    As Mr. Finn sat in the intake department, he began seizing and collapsed to the

concrete floor. As a result, he was placed in the medical unit where he remained for almost two

days.

        44.    Even during his stay in the medical unit, Mr. Finn was not evaluated for injuries

that resulted from Deputy Gentempo’s attack.

        45.    It was not until Mr. Finn reported Deputy Gentempo’s misconduct on March 22,

2019, two days after the attack, that he was finally evaluated for his injuries.

        46.    At that time, a nurse employed in the jail observed a hematoma and abrasions still

visible on Mr. Finn’s head, clearly the result of being assaulted by Deputy Gentempo.

DSD’s Cover-Up and Ratification of Deputy Gentempo’s Assault

        47.    On March 22, 2019, Mr. Finn contacted Denver’s Office of the Independent

Monitor to report Deputy Gentempo’s beating.

        48.    Mr. Finn’s complaint was referred to the Internal Affairs Bureau (“IAB”), and the

case was assigned to Senior Investigator Brittany Iriart.

        49.    Throughout March and April of 2020, Investigator Iriart conducted interviews

with several people involved in the assault, including Mr. Finn, Deputies Gentempo and

Siwakoti, another DSD Sergeant, and a night shift supervisor at Denver Health.

        50.    During their interviews, neither Deputy Gentempo nor Siwakoti reported the use

of force. Instead, Deputy Gentempo consistently denied that he had struck Mr. Finn, ignored or

mischaracterized the video evidence, and outright lied regarding his treatment of Mr. Finn.




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          51.     For example, Deputy Gentempo denied “intentionally strik[ing] [Mr. Finn] with a

closed fist,” and stated only that he had “closed the distance to prevent [Mr. Finn] from spitting

again.”

          52.     And again, when confronted with the video evidence, Deputy Gentempo

explained, “I would not even classify it as a strike . . . Yeah, I wouldn’t classify it as a strike.”

          53.     Meanwhile, other officers who reviewed the surveillance footage of the attack

identified his use of force as a strike and understood that Deputy Gentempo should have reported

the assault.

          54.     For example, a DSD Sergeant stated, “I would say it was a strike . . . he struck

something,” and “yes,” Deputy Gentempo should have reported the strike.

          55.     On April 20, 2020, DSD IAB filed a complaint against Deputy Gentempo,

alleging three separate policy violations: Inappropriate Force on a Person (RR-300.22) for his

assault of Mr. Finn; Knowingly Making Misleading or Inaccurate Statements (RR-200.4.1) for

lying in his written report following the assault; and Commission of a Deceptive Act (RR-

200.4.2) for lying about his conduct during his interview with Investigator Iriart. 1

          56.     In its final report, DSD IAB described Deputy Gentempo’s conduct as follows:

          “Deputy Gentempo responded by striking toward inmate Finn twice in the face
          area, while Inmate Finn appeared to block the strikes with the blanket he had in his
          possession, literally a split second later [] Deputy Gentempo took a bracing step
          onto his left leg, cocked his left arm back, and followed through with his left arm
          as his left foot left the ground; then Deputy Gentempo immediately took a second
          swing at Inmate Finn’s face area. . . . Deputy Gentempo then pushed Inmate Finn
          by the head/neck area with his left hand, pushing him hard enough to cause the
          wheelchair to roll backward a few feet and fall backward to the ground.”



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    These policy violations reference provisions in DSD’s Rules and Regulations.
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       57.     Three days later, on April 23, 2020, the DSD Conduct Review Unit determined

that “the allegations against [Deputy Gentempo] regarding the asserted policy and procedural

violations are Not Sustained.”

       58.     The stated rationale for this determination was that “There [was] insufficient

evidence to either prove or disprove the allegation[s].”

       59.     The DSD’s determination is incomprehensible—video evidence clearly shows

Deputy Gentempo repeatedly striking Mr. Finn in the face, flipping his wheelchair, then applying

painful pressure points to his face and neck, even though Mr. Finn was entirely defenseless.

       60.     The DSD’s determination whitewashes and ratifies Deputy Gentempo’s

misconduct.

       61.     Shortly after, Investigator Iriart attempted to publicize the DSD’s unfounded

decision to exonerate Deputy Gentempo, along with its more general practice of covering up the

misconduct of its officers.

       62.     The DSD suspended Investigator Iriart’s employment in June 2020, and

ultimately terminated her in October 2020.

       63.     The DSD’s decision to silence the whistleblower responsible for the investigation

of Deputy Gentempo makes clear that the DSD endorses and ratifies Deputy Gentempo’s

unjustified assault of Mr. Finn.

The DSD’s Failure to Train, Supervise, or Discipline Deputy Gentempo

       64.     In addition to ratifying Deputy Gentempo’s misconduct, the DSD also failed to

train, supervise, and discipline Deputy Gentempo prior to his assault of Mr. Finn.




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        65.      Deputy Gentempo admitted during the IAB investigation that he had not been

trained on the use of force in situations involving arrestees that allegedly attempt to spit at or

near officers.

        66.      In Deputy Gentempo’s own words: “I’m not trying to justify anything. All I’m

trying to say is there was no layout, there’s nothing in our policy that will tell you what exactly

to do when you’re being spit on.”

        67.      Even if such training existed, Deputy Gentempo admitted he had not reviewed or

signed 1,631 policy documents contained in DSD’s employee training database.

        68.      Separately, the beating of Mr. Finn was not the first time that the DSD failed to

discipline Deputy Gentempo.

        69.      In September 2017, a jail inmate accused Deputy Gentempo of using

inappropriate force to restrain him during an incident in the jail.

        70.      In October 2017, another inmate accused Deputy Gentempo of physically

assaulting him following an altercation with another inmate.

        71.      In June 2018, another inmate accused Deputy Gentempo of kicking him to the

ground while he was being transferred from Denver Health to the DDC.

        72.      And in May 2020, yet another inmate accused Deputy Gentempo of pushing him

to the floor in his cell—that inmate was then transferred to Denver Health, bleeding from his

face.

        73.      The DSD did not discipline Deputy Gentempo for any of these acts.




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The DSD’s Widespread Practice of Employing Excessive Force and Failing to Discipline its
Officers

        74.     The DSD has a custom of using excessive force against its constituents and

frequently failing to discipline its officers for such.

        75.     In or around 2020, DSD Deputy Kevin Bagley punched an inmate several times in

the head, even while the inmate was on the ground. As in this case, punching defenseless

inmates in the head constitutes the use of excessive force.

        76.     In or around November 2021, a DSD Deputy used excessive force against an

inmate who refused to remove his hair tie. No force was necessary during that non-violent

interaction.

        77.     In or around 2020, DSD Deputy Ian Schiffhauer grabbed an arrestee’s neck and

continued to apply pressure to the man’s neck after taking him to the ground. As in this case,

continuing to attack defenseless inmates constitutes the use of excessive force.

        78.     In or around 2020, DSD Sergeant James Casias shoved an inmate to the ground.

A sergeant employing excessive force sends a clear message from the top to the remaining DSD

officers of what conduct is tolerable.

        79.     In or around 2020, DSD Deputy Denise Valdez stood on an inmate’s legs without

reasonable justification and received no discipline. Standing on an inmate’s legs is neither

necessary nor DSD-approved.

        80.     In or around 2012, DSD Deputy Brady Lovingier slammed a pre-trial detainee’s

head into a courtroom wall.




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       81.     Throughout his employment, at least five inmates have accused Deputy

Gentempo of using excessive force; however, Deputy Gentempo has never been disciplined for

any of these transgressions.

       82.     In addition, DSD has a widespread and longstanding policy and practice of

altering IAB findings in order to exonerate deputies who IAB determined had violated DSD

policy and to prevent the public from learning about DSD employee misconduct.

       83.     Investigator Iriart was aware of this policy and practice and in at least one

instance voiced her complaints about this process to the public. Investigator Iriart also

complained to her DSD superiors about this policy and practice. However, DSD took no

meaningful action to remedy her complaints.

A Summation of Denver’s Customs, Policies, and Practices That Were the Moving Forces
Behind Deputy Gentempo’s Constitutional Violations Against Mr. Finn

       84.     Denver’s customs, policies, and practices were the moving forces behind Deputy

Gentempo’s use of excessive force against Mr. Finn.

       85.     Denver carried out these customs, policies, and practices with deliberate

indifference, making the constitutional violation against Mr. Finn predictable and almost

inevitable.

       86.     Such customs, policies, and practices include the ratification of Deputy

Gentempo’s beating of Mr. Finn; the failure to train or supervise Deputy Gentempo with respect

to the use of force against allegedly spitting arrestees; the failure to discipline Deputy Gentempo

with respect to previous accusations of excessive force; and the widespread practice of its

officers employing excessive force and frequently receiving no disciplinary actions. These

customs, policies, and practices are detailed in the preceding paragraphs and summarized below.

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       87.     Denver ratified Deputy Gentempo’s constitutional violation by rejecting the

IAB’s recommendation of disciplinary action. Instead, Denver exonerated Deputy Gentempo

and went on to silence a whistleblower who flagged the failure to discipline Deputy Gentempo as

part of a much wider practice of exonerating officers who committed misconduct.

       88.     Denver failed to train or supervise Deputy Gentempo since, as he admits, he

received no training on the use of force against allegedly spitting arrestees.

       89.     Denver failed to discipline Deputy Gentempo for several other accusations of

excessive force leading up to the beating of Mr. Finn.

       90.     Denver has a custom of employing excessive force and frequently failing to

discipline its officers that constitutes a widespread practice, as evidenced by the numerous

incidents identified above involving DSD officers other than Deputy Gentempo, Deputy

Gentempo’s own disciplinary history, and Investigator Iriart’s chief complaint.

       91.     These customs, policies, and practices were consciously permitted, authorized, or

executed by Denver. They reflect an intentional decision to choose from among various

alternative courses of action.

       92.     They were also the cause of the constitutional violation alleged herein. Deputy

Gentempo had not been trained for the situation at issue, had not received discipline in the past

for similar misconduct, and knew that even if he employed excessive force against Mr. Finn, it

likely would be tolerated by DSD. Thus, it was entirely foreseeable that Deputy Gentempo

would continue to use excessive force against inmates and arrestees, including Mr. Finn.




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          93.   The actions were approved, condoned, and ratified by Denver, deprived Mr. Finn

of the rights, privileges, liberties, and immunities secured by the Constitution of the United

States of America, and resulted in substantial injuries recoverable by the Estate of Mr. Finn.

                                 V.      CLAIMS FOR RELIEF

                                 FIRST CLAIM FOR RELIEF
                    42 U.S.C. § 1983 – Fourth Amendment Excessive Force
                                  (Against Deputy Gentempo)

          94.   Plaintiff hereby incorporates all other paragraphs of this Complaint as if set forth

herein.

          95.   Defendant Deputy Gentempo, at all times relevant hereto, was acting under color

of state law in his capacity as a law enforcement officer.

          96.   At the time of his arrest, Mr. Finn had a clearly established right under the Fourth

Amendment to the United States Constitution to be secure in his person against unreasonable

searches and seizures, including through the use of excessive force in carrying out a seizure of

his person.

          97.   Defendant Deputy Gentempo’s repeated strikes to Mr. Finn’s face, his shove of

Mr. Finn to the ground, his application of painful pressure points to Mr. Finn’s head and neck,

and his gratuitous bump of Mr. Finn’s head into a parking bollard were objectively unreasonable

under the circumstances.

          98.   Such misconduct was particularly unreasonable given that, at all relevant times,

Mr. Finn was handcuffed, shackled, and restrained in a wheelchair. He was completely

defenseless and posed no physical threat to the officers.




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         99.    Defendant Deputy Gentempo’s conduct violated clearly established rights

belonging to Mr. Finn of which any reasonable law enforcement officer knew or should have

known.

         100.   Defendant Deputy Gentempo’s actions, as described herein, were motivated by

malice and/or involved reckless or callous indifference to Mr. Finn’s federally protected rights,

and he engaged in these actions and omissions intentionally, willfully, and/or wantonly,

demonstrating deliberate indifference to, and a reckless disregard for, Mr. Finn’s constitutionally

protected rights.

         101.   Evidence of such malice, recklessness, and callous indifference includes the

violent nature of the assault itself, along with Deputy Gentempo’s deception and complete lack

of remorse during the ensuing investigation.

         102.   The unlawful acts herein described were carried out pursuant to the customs,

policies, and practices of Defendant Denver.

         103.   Defendant Denver carried out these customs, policies, and practices with

deliberate indifference, making the constitutional violation against Mr. Finn predictable and

almost inevitable.

         104.   Such customs, policies, and practices include the ratification of Deputy

Gentempo’s beating of Mr. Finn; the failure to train or supervise Deputy Gentempo with respect

to the use of force against allegedly spitting arrestees; the failure to discipline Deputy Gentempo

with respect to previous accusations of excessive force; and the widespread practice of excessive

force and frequent sham disciplinary processes related to such.




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          105.   The acts or omissions of each Defendant, including the unconstitutional customs,

policies, and practices described herein, were a legal and proximate cause of Plaintiff’s damages.

          106.   Because Defendant Denver’s customs, policies, and practices were the moving

forces behind Deputy Gentempo’s constitutional violations, his misconduct is chargeable to the

municipality.

                              SECOND CLAIM FOR RELIEF
  42 U.S.C. § 1983 – Ratification, Failure to Train or Supervise, Failure to Discipline, and
                               Widespread Unlawful Practices
                                (Against Defendant Denver)

          107.   Plaintiff hereby incorporates all other paragraphs of this Complaint as if set forth

herein.

          108.   Defendant Denver ratified the unlawful use of excessive force alleged herein,

failed to train and supervise Defendant Deputy Gentempo, failed to discipline him for similar

misconduct prior to the unlawful conduct alleged herein, and perpetuated a widespread practice

of excessive force and frequent cover-ups.

          109.   These customs, policies, and practices were the driving forces and proximate

causes of Defendant Deputy Gentempo’s constitutional violations against Mr. Finn.

          110.   Defendant Denver was deliberately indifferent to the constitutional rights of Mr.

Finn, knowing that its customs, policies, and practices would inevitably result in the excessive

force employed by Defendant Deputy Gentempo.

          111.   The acts or omissions of Defendant Denver caused Mr. Finn to suffer extreme

physical and mental pain during the assault.

          112.   The acts or omissions of Defendant Denver were a legal and proximate cause of

Plaintiff’s damages.

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                                 VI.      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff requests that the Court enter judgment in its favor, and against

each Defendant, for the following relief:

       a.      All declaratory relief and injunctive relief, as appropriate;

       b.      Actual economic damages as established at trial;

       c.      Compensatory damages, including but not limited to those for emotional pain,

               suffering, inconvenience, mental anguish, loss of enjoyment of life, medical bills,

               and other non-pecuniary losses;

       d.      Nominal damages;

       e.      Punitive damages for all claims as allowed by law in an amount to be determined

               at trial;

       f.      Pre-judgment and post-judgment interest at the highest lawful rate;

       g.      The maximum tax-offset permitted by law;

       h.      Attorneys’ fees and costs; and

       i.      Such further relief as justice requires, and any other relief as allowed by law.

                                       VII.   JURY DEMAND

       Plaintiff demands a jury trial on all issues so triable.




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DATED this 10th date of August 2021.


                                       RATHOD | MOHAMEDBHAI LLC


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